IN RE: WILLIAMS, DEBTOR                 9/14/2023                            SCOTT WILLIAMS

· · · · · ··UNITED STATES BANKRUPTCY COURT
· · · · · · ·FOR THE DISTRICT OF MONTANA
·
··IN RE:· · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
··SCOTT K. WILLIAMS,· · · · · · ·)
· · · · · · · · · · · · · · · · ·)
· · · · · · ·Debtor.· · · · · · ·) CAUSE NO.
··____________________________· ·) 9:22-bk-90147-BPH
· · · · · · · · · · · · · · · · ·)
··RICHARD J. SAMSON, AS· · · · ··)
··CHAPTER 7 TRUSTEE OF THE· · · ·)
··ESTATE OF SCOTT K. WILLIAMS,· ·)
· · · · · · · · · · · · · · · · ·)
· · · · · · ·Plaintiff,· · · · ··)
· · · · · · · · · · · · · · · · ·)
· · · ··-vs-· · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
··CANDY WILLIAMS AND VIKING· · ··)
··INVESTMENTS, LLC,· · · · · · ··)
· · · · · · · · · · · · · · · · ·)
· · · · · · ·Defendants.· · · · ·)
·
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· · · · · ·Taken at 310 West Spruce Street
· · · · · · · · ··Missoula, Montana
· · ··Thursday, September 14, 2023 - 1:00 P.M.
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· · · · · · · · ·D E P O S I T I O N
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· · · · · · · · · · · · ··OF
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· · · · · · · · · ··SCOTT WILLIAMS
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·Reported by Terra Rohlfs, RPR, Jeffries Court Reporting,
·Inc., 1015 Mount Avenue, Suite B, Missoula, Montana
·59801, (406)721-1143, Freelance Court Reporter and
·Notary Public for the State of Montana, residing in
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·1·· · · · · · · · ·A P P E A R A N C E S
·2···                                                                   ·1·· · · · · · · ··S T I P U L A T I O N S
·3···Trent M. Gardner, Esq.                                             ·2···
 ···Hannah
    ·           S. Willstein, Esq.
·4···Goetz, Geddes & Gardner, P.C.                                      ·3·· · · · ·It was stipulated by and between counsel for
 ···The
    · Ketterer Building, 35 North Grand                                 ·4···the respective parties that the deposition be taken
·5···P.O. Box 6580
 ···Bozeman,
    ·              Montana··59771-6580                                  ·5···by Terra Rohlfs, RPR, Freelance Court Reporter and
·6···tgardner@goetzlawfirm.com                                          ·6···Notary Public for the State of Montana, residing in
 ···Associated
    ·               Staff:
·7···hwillstein@goetzlawfirm.com                                        ·7···Hamilton, Montana.
 ·· ·· ·appearing on behalf of Plaintiff, Richard J.                    ·8···
·8·· · ·Samson, as Chapter 7 Trustee of the Estate of
 ·· ·· ·Scott K. Williams.                                              ·9·· · · · ·It was further stipulated and agreed by and
·9···
10···                                                                   10···between counsel for the respective parties that the
 ···Edward
    ·           "Rusty" A. Murphy, Esq.                                 11···deposition be taken in accordance with the Montana
11···Murphy Law Offices, PLLC
 ···127
    · North Higgins, Suite 310                                          12···Rules of Civil Procedure.
12···Missoula, Montana··59802                                           13···
 ···rusty@murphylawoffices.net
    ·
13·· · ·appearing on behalf of Defendant Candy Williams                 14·· · · · ·It was further stipulated and agreed by and
 ·· ·· ·and Viking Investments, LLC.                                    15···between counsel for the respective parties that all
14···
15···                                                                   16···objections except as to form would be reserved
 ···Matt
    ·       Shimanek, Esq.                                              17···until time of trial, and that said objections would
16···Shimanek Law PLLC
 ···317
    · East Spruce Street                                                18···have the same force and effect as if interposed at
17···Missoula, Montana··59802                                           19···the time of taking the deposition.
 ···matt@shimaneklaw.com
    ·
18·· · ·appearing on behalf of Debtor Scott K. Williams.                20···
19···                                                                   21·· · · · ·It was further stipulated and agreed by and
20···Also appearing:··Richard J. Samson and Candy
 ···Williams
    ·                                                                   22···between counsel for the respective parties and the
21···
22···                                                                   23···witness that the reading and signing of the
23···                                                                   24···deposition would be expressly reserved.
24···
25···                                                                   25···

                                                               Page 3                                                       Page 5
·1·· · · · · · · · · · · I· N D E X
·2···                                                                   ·1·· · · · · · ··THURSDAY, SEPTEMBER 14, 2023
 ···WITNESS:·
     ·               · · · · · · · · · · · · · · · · · PAGE:
                                                       ··
·3···                                                                   ·2···Thereupon,
 ···SCOTT
     ·         WILLIAMS
·4···                                                                   ·3·· · · · · · · · · ··SCOTT WILLIAMS,
 ···Examination
     ·                by Mr. Gardner· · · · · · · · · · · 5·
·5···                                                                   ·4···a witness of lawful age, having been first duly
 ···Stipulations·
     ·                 · · · · · · · · · · · · · · · · ·4·
                                                                        ·5···sworn to tell the truth, the whole truth and
·6···
 ···EXHIBITS:
     ·                                                                  ·6···nothing but the truth, testified upon his oath as
·7···
 ···Deposition
     ·              Exhibit Number 1                                    ·7···follows:
·8·· ··U.S. Bank Statement 6/19/19-7/17/19· · · · ··28
 ···Deposition
     ·              Exhibit Number 2                                    ·8·· · · · · · · · · · · ··EXAMINATION
·9·· ··Photo of Receipt and Release By Sworn
 ·· ···Statement of Brenda Lee Harbers in Probate                       ·9···BY MR. GARDNER:
10·· ··No. 193700250· · · · · · · · · · · · · · · ··40
 ···Deposition
     ·              Exhibit Number 3                                    10·· · · ··Q.··Could you state your name and address for
11·· ··Order Granting Plaintiff's Ex Parte
 ·· ···Emergency Motion for Temporary Restraining                       11···the record.
12·· ··Order Without Hearing; and Notice of
 ·· ···Hearing in Cause No. 190905179· · · · · · · ·47                  12·· · · ··A.··Scott Williams.··11423 Spotted Fawn Lane,
13···Deposition Exhibit Number 4
 ·· ···Summons for Scott Williams in Cause                              13···Bigfork, Montana 59911.
14·· ··No. 190905179· · · · · · · · · · · · · · · ··49                  14·· · · ··Q.··Okay.··And Mr. Williams, my name is Trent
 ···Deposition
     ·              Exhibit Number 5
15·· ··First Amended Complaint in Cause                                 15···Gardner, you understand that I represent your
 ·· ···No. 190905179· · · · · · · · · · · · · · · ··49
16···Deposition Exhibit Number 6                                        16···bankruptcy trustee --
 ·· ···Payments to Scott spreadsheet· · · · · · · ··58
17···Deposition Exhibit Number 7                                        17·· · · ··A.··Yes, I do.
 ·· ···Zions Bank Statement 6/26/19· · · · · · · · ·59
18···Deposition Exhibit Number 8                                        18·· · · ··Q.··-- Richard Samson?
 ·· ···Zions Bank Statement 7/31/19· · · · · · · · ·62
19···Deposition Exhibit Number 9                                        19·· · · ··A.··Uh-huh.
 ·· ···Photo of Zions Bank cashier's check· · · · ··63
20···Deposition Exhibit Number 10                                       20·· · · ··Q.··Okay.··Just a couple of quick ground
 ·· ···Zions Bank checks and withdrawal slips· · · ·64
21···Deposition Exhibit Number 11                                       21···rules.··I know you'll know what my question is a
 ·· ···Exhibit A, Answers and Documents Produced· ··67
22···Deposition Exhibit Number 12                                       22···lot of times, but if you could wait for me to
 ·· ···U.S. Bank Statement 7/18/19-8/16/19· · · · ··70                  23···finish before you answer, that will help us get a
23···
 ···Certificate
     ·             of Witness· · · · · · · · · · · · 7· 2
                                                                        24···clear record, and I'll try to do the same with you.
24···Certificate of Court Reporter· · · · · · · · ··73
 ···Read
     · and Sign Letter· · · · · · · · · · · · · 74         ·            25·· · · · · ··And we also need verbal answers --
25···Release Letter· · · · · · · · · · · · · · · ·75·

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·1·· · · ··A.··Okay.                                        ·1·· · · ··Q.··When was the last time you were employed?
·2·· · · ··Q.··-- instead of nods or shakes.                ·2·· · · ··A.··In 2019, I guess.
·3·· · · · · ··Have you ever been deposed before?           ·3·· · · ··Q.··Okay.··And how were you employed in 2019?
·4·· · · ··A.··Yeah.                                        ·4·· · · ··A.··It's kind of questionable whether I was
·5·· · · ··Q.··How many times?                              ·5···employed or just kind of helping out my father, but
·6·· · · ··A.··A couple.                                    ·6···I did stuff for my father, his business, but...
·7·· · · ··Q.··When were you deposed?                       ·7·· · · ··Q.··And your father's business was what?
·8·· · · ··A.··Last -- in the last year in this case        ·8·· · · ··A.··Hugh's RV is what it was called.
·9···with my brother, and I don't remember the date off     ·9·· · · ··Q.··Okay.··Do you recall whether you received
10···hand, but in the last year.··And then like 30 years    10···W-2s?
11···ago probably, I was -- I managed a motorhome           11·· · · ··A.··Never did, no.
12···business, a guy talked me into driving his             12·· · · ··Q.··And the last time you did that was in
13···motorhome for him home after hours, I got hit.··The    13···2019?
14···guy was an attorney, didn't have insurance, so he      14·· · · ··A.··Actually my dad died in 2019, so
15···just played it out until all the insurance             15···technically I guess it was 2018, and I was still
16···companies involved, the company, mine, the             16···there in 2019, but...
17···employer's, everybody just paid for it.                17·· · · ··Q.··Okay.··And we'll get to that in a minute.
18·· · · ··Q.··Any other times you've ever been deposed?    18·· · · · · ··But since that 2018/early 2019 have you
19·· · · ··A.··No.                                          19···been employed in any other way?
20·· · · ··Q.··Have you ever been involved in any other     20·· · · ··A.··No.
21···litigation?                                            21·· · · ··Q.··Have you had any other source of income
22·· · · ··A.··Just the litigation that is part of this     22···since 2019?
23···case that was originally with my brother, a            23·· · · ··A.··Social Security starting in I believe
24···different brother, Duffy Williams.··And then           24···2021.
25···with -- and then that turned on to me and the          25·· · · ··Q.··Okay.

                                                   Page 7                                                      Page 9

·1···trust.                                                 ·1·· · · ··A.··I'm not sure of that date exactly, but I
·2·· · · ··Q.··Okay.··That litigation with Duffy --         ·2···believe 2021.
·3·· · · ··A.··Yes.                                         ·3·· · · ··Q.··Okay.
·4·· · · ··Q.··-- tell me about that litigation.            ·4·· · · ··A.··Yeah, 2021 it was.
·5·· · · ··A.··Okay.··So Duffy had an attorney who he       ·5·· · · ··Q.··So from 2019 to whenever the Social
·6···owed money, the amount was always in question, I       ·6···Security started in 2021, you didn't have any
·7···never knew the exact amount, I heard different         ·7···income?
·8···numbers from different people, I always thought it     ·8·· · · ··A.··No, huh-uh.
·9···was about $2500, the attorney sued him for             ·9·· · · ··Q.··You mentioned the case with your brother
10···$250,000.··Duffy -- Duffy told him that he was in      10···where you were deposed last year, is that the
11···Africa, which he had done before, he's been in         11···arbitration proceeding?
12···Africa, so the guy settled for I think about           12·· · · ··A.··Yes, yes.
13···$23,000, but then came after me because Duffy told     13·· · · ··Q.··And who were the plaintiffs in that case?
14···him, or he assumed, I think, that I was helping him    14·· · · ··A.··Just Kent Williams.
15···out in some way.                                       15·· · · ··Q.··Okay.··Were any of your other siblings
16·· · · ··Q.··Okay.··And was that back in like             16···involved?
17···June/July of 2019?                                     17·· · · ··A.··No.
18·· · · ··A.··Yeah, his was in June or July, yes, and      18·· · · ··Q.··What is that case about?
19···then it flipped over to me and the trust on            19·· · · ··A.··I guess their claims were I paid my
20···July 21st of that year, yeah.                          20···father's tithing after he died.··I -- he questioned
21·· · · ··Q.··Okay, okay.··Briefly tell me about your      21···a $75,000 payment to me after he had already --
22···education history.                                     22···everybody had already signed off on it, accepting
23·· · · ··A.··High school, a little bit of college.        23···their money, knowing full well I was getting that
24·· · · ··Q.··Okay.··And are you currently employed?       24···payment.··I believe there's a claim for fuel, a
25·· · · ··A.··No.                                          25···claim for food, and a claim for American Express


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·1···payments.                                              ·1···and I can't remember everything else without
·2·· · · ··Q.··Okay.··The -- when was that $75,000          ·2···looking at it.
·3···payment to you made?                                   ·3·· · · ··Q.··Okay.
·4·· · · ··A.··On -- the siblings all got their --          ·4·· · · ··A.··But that was his objection at the time is
·5···basically got their notification before that, but      ·5···that it said final payment, which like I said, I
·6···we had a meeting at the attorney's office on           ·6···wouldn't have signed that.
·7···June 26th, I believe, of 2019.                         ·7·· · · ··Q.··Okay.··So when did Kent start raising
·8·· · · ··Q.··Okay.                                        ·8···issues about the 75,000?
·9·· · · ··A.··I didn't pay myself that day, I waited --    ·9·· · · ··A.··The first time I heard any problem was in
10···I think until July 7th -- July 1st, I believe it       10···the lawyer's letter that he sent in 2021.
11···was.                                                   11·· · · ··Q.··Okay.··When did Kent initiate the
12·· · · ··Q.··Okay.··And when you -- what was the          12···litigation?
13···$75,000 for?                                           13·· · · ··A.··So he did the lawyer's letter in 2021, I
14·· · · ··A.··My dad called it retirement severance.··I    14···answered it, the lawyer answered back, and at that
15···don't know.··He told three of my sisters, he may       15···point I decided I'd better get an attorney.··So I
16···have told my brothers, but they never admitted it,     16···got an attorney and then it went back and forth for
17···basically he was going to give me money if the         17···months, if not a year or two.
18···business ever sold or closed down.··And it all came    18·· · · ··Q.··And that ultimately went into an
19···from, he was originally in 2015 -- 2014 had an         19···arbitration; right?
20···agreement to sell the property -- or not sell the      20·· · · ··A.··Yes, the trust required it be an
21···property, but to build apartments and a development    21···arbitration.
22···agreement with some other people.                      22·· · · ··Q.··Yeah, I think you said Kent was the only
23·· · · ··Q.··Okay.                                        23···plaintiff --
24·· · · ··A.··So that's when it instituted.··And then      24·· · · ··A.··Yes.
25···he told -- unbeknownst to me, he told my sisters       25·· · · ··Q.··-- in that arbitration?

                                                  Page 11                                                      Page 13

·1···all about it, and so it was included in the            ·1·· · · · · ··Are any of -- Kent's making a claim
·2···disbursement.                                          ·2···against you in this bankruptcy, correct, related to
·3·· · · ··Q.··Okay.··And so prior to that June 26th,       ·3···that arbitration?
·4···2019 meeting you gave your siblings a                  ·4·· · · ··A.··I believe all of the siblings are.··Three
·5···spreadsheet --                                         ·5···of them have already signed a release.··But I guess
·6·· · · ··A.··A payout, yes, yes.                          ·6···on advice of counsel, I listed them all because I
·7·· · · ··Q.··-- showing what the distribution would       ·7···didn't know if that would, you know, absolve the
·8···be?                                                    ·8···whole thing for all of them or if they could all
·9·· · · ··A.··Right, exactly.                              ·9···individually come back to me or what.··So I'm the
10·· · · ··Q.··And it showed that you were to get           10···one who listed all of the siblings.
11···$75,000 more than they were?                           11·· · · ··Q.··Okay.··What did you do to prepare for
12·· · · ··A.··Yes.··Listed as a severance, yes.            12···today's deposition?
13·· · · ··Q.··Okay.··And at that time did Kent dispute     13·· · · ··A.··I said my prayers, I read this, I --
14···that you were entitled to that?                        14···actually, Candy prepared this, which was a timeline
15·· · · ··A.··No.                                          15···just because we wanted -- I mean, it's based on
16·· · · ··Q.··He never raised an issue?                    16···factual things that we can nail down because it's
17·· · · ··A.··Absolutely not.                              17···all so old from 2019, that it's hard to remember
18·· · · ··Q.··Did he raise any issues at that time?        18···exactly on what date what happened and what --
19·· · · ··A.··The agreement that was signed that day,      19·· · · ··Q.··Can I see that document?
20···that the three girls signed, the three sisters --      20·· · · ··A.··Right now?
21···you have a copy of it -- it shows final payment        21·· · · ··Q.··Yes.
22···received in full, which I wouldn't have signed, you    22·· · · · · ··MR. SHIMANEK:··I don't see any reason why
23···know, the lawyer made it up, I didn't see it until     23···you --
24···the night before we went to the lawyer's office,       24·· · · ··A.··Yeah, it's just a listing of a date, what
25···taxes need to be paid out of -- out of the estate,     25···happened and how she figured out how to do it, I


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·1···mean, the proof of what we're doing, so it             ·1·· · · ··A.··No.
·2···wasn't -- it's not a guess, it's -- there's            ·2·· · · ··Q.··Prior to working for Hugh's RV what did
·3···something tied to it.                                  ·3···you do?
·4·· · · ··Q.··(BY MR. GARDNER)··Okay.··And what else       ·4·· · · ··A.··I was mostly in the floor covering
·5···did you look at?··Are those just copies -- more        ·5···industry.
·6···copies of this?                                        ·6·· · · ··Q.··So when your dad died, you were the
·7·· · · ··A.··No, this is the payments that Candy has      ·7···personal representative of the --
·8···made on my behalf towards anything that was            ·8·· · · ··A.··Yes.
·9···transferred to her.                                    ·9·· · · ··Q.··-- estate; correct?
10·· · · ··Q.··Okay.··What else did you do to prepare?      10·· · · ··A.··Still am, to the best of my knowledge,
11·· · · ··A.··That's it.                                   11···yes.
12·· · · ··Q.··Okay.                                        12·· · · ··Q.··Has that estate been closed?
13·· · · ··A.··I didn't know what your questions would      13·· · · ··A.··No.
14···be, so I didn't really have a lot to go on.            14·· · · ··Q.··Is that one of Kent and your other
15·· · · ··Q.··Okay.··Can I see the second one?             15···siblings' complaints that the estate hasn't been
16·· · · ··A.··Uh-huh.                                      16···closed?
17·· · · ··Q.··Is this the same document that you           17·· · · ··A.··They haven't complained about it anywhere
18···produced to us in discovery?                           18···in writing that I'm aware of.··Yes, they want it
19·· · · · · ··MS. WILLIAMS:··We did.··Oh, sorry.           19···closed, but it was from 2019, it was a $5 million
20·· · · ··A.··I believe she did, yes.··The only            20···estate and my dad hadn't paid his taxes for a
21···difference is I understand it may have been updated    21···couple years, so we had to get that handled, and
22···to the current date.                                   22···there has to be some time limit of making sure
23·· · · ··Q.··(BY MR. GARDNER)··Okay.··When we're on a     23···there aren't any problems with that.··So there's no
24···break I'm just going to make copies --                 24···reason to be in a hurry, that I'm aware of, except
25·· · · ··A.··Sure.                                        25···they all wanted their money.

                                                  Page 15                                                      Page 17

·1·· · · ··Q.··-- of those two.                             ·1·· · · ··Q.··Okay.··What all was in your dad's estate?
·2·· · · · · ··Okay.··Have you ever filed bankruptcy        ·2·· · · ··A.··He had -- I assume his home was in his
·3···before?                                                ·3···estate, it automatically went to his wife the day
·4·· · · ··A.··Yes, uh-huh.                                 ·4···he died, but he had a home.··He had five pieces
·5·· · · ··Q.··When did you file bankruptcy?                ·5···of -- parcels of property contiguous in one -- in
·6·· · · ··A.··I'm not sure of the date, I knew it          ·6···one lot that he had in north Salt Lake.··And then
·7···before, I don't -- off the top of my head, I don't     ·7···his personal effects.··Well, actually, there's a
·8···know.··But 20 years ago or so, somewhere in there.     ·8···few -- there's a list of vehicles and stuff there
·9·· · · ··Q.··Early 2000s, roughly?                        ·9···that are on the list.
10·· · · ··A.··Yeah, seems like it was earlier than         10·· · · ··Q.··So briefly --
11···that, like the end of the '90s, but somewhere in       11·· · · ··A.··So that's all.
12···there, yeah.                                           12·· · · ··Q.··Okay.··So briefly describe what you did
13·· · · ··Q.··And where was that bankruptcy filed?         13···as the PR to deal with the estate.
14·· · · ··A.··Salt Lake City, yeah, Salt Lake City.        14·· · · ··A.··Okay.··So first thing, he was in a
15·· · · ··Q.··Okay.··How long did you work for Hugh's      15···divorce with his ex-wife, so we got that stopped
16···RV?                                                    16···because it was moot.··I worked with his ex-wife's
17·· · · ··A.··From 2007, I believe.                        17···son-in-law, who was also at this point her
18·· · · ··Q.··Okay.··What type of work did you do for      18···attorney, to get the house sold and the personal
19···Hugh's RV?                                             19···effects out of it and divided up.
20·· · · ··A.··He got a -- it's called El Monte RV, a       20·· · · · · ··And then I sold the property, the
21···motorhome rental company, so he had that               21···property was valued at 2.7 million on the appraisal
22···opportunity, so he -- so I basically rented out        22···in 2018, I sold it for 4.9 million, as if it had
23···someone else's motorhomes is what it reduced to.       23···entitlements, although it didn't.··And with no
24·· · · ··Q.··Okay.··Were you involved in sales of         24···attorney -- or no attorney or real estate agent
25···motorhomes at all?                                     25···involved.


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·1·· · · · · ··And oversaw the closing down of his          ·1···technically, when I would've been a resident of
·2···estate there or -- yeah, the estate, and the           ·2···Montana.
·3···several vehicles that were listed as assets.           ·3·· · · ··Q.··Okay.··And I'm not --
·4·· · · ··Q.··How long have you and Candy been married?    ·4·· · · ··A.··But we physically moved at the end of
·5·· · · ··A.··Since 2014.                                  ·5···2020 -- or the end of June in 2020.
·6·· · · ··Q.··Okay.··And did you -- I assume you lived     ·6·· · · ··Q.··Okay.··And was Candy in Utah with you up
·7···in Salt Lake at that time?                             ·7···until that point or did --
·8·· · · ··A.··Yeah, Cottonwood Heights in Utah, yes.       ·8·· · · ··A.··Yes.
·9·· · · ··Q.··Did you own a home in Utah?                  ·9·· · · ··Q.··-- she move out earlier?
10·· · · ··A.··No.                                          10·· · · ··A.··Yes, no, she had a job there and stayed
11·· · · ··Q.··Did you ever own any real property in        11···in the house.
12···Utah?                                                  12·· · · ··Q.··Okay.··And whose name was your lease in
13·· · · ··A.··Yes, yes, I had three homes with a           13···Utah in?
14···previous marriage in Utah, yes.                        14·· · · ··A.··I don't positively -- I assume it was in
15·· · · ··Q.··And when was the last time you that you      15···both our names.··I think in Utah any -- any
16···owned a home?                                          16···occupants over 18 have to be on there, so it
17·· · · ··A.··I believe 1992.                              17···might've been in my name, her name and her
18·· · · ··Q.··Okay.··And since then you didn't own --      18···daughter's, who stayed with us for quite a while,
19·· · · ··A.··No.                                          19···but I'm not positive, I haven't looked at it.
20·· · · ··Q.··-- any real estate --                        20·· · · ··Q.··Okay.··So we were -- did you and Candy
21·· · · ··A.··No, never.                                   21···own any -- after you moved to Montana, own any real
22·· · · ··Q.··-- in Utah?                                  22···estate?
23·· · · · · ··COURT REPORTER:··So will you do me a         23·· · · ··A.··No.
24···favor, Scott?                                          24·· · · ··Q.··Okay.··Did Candy own any real estate?
25·· · · · · ··THE WITNESS:··Yes.                           25·· · · ··A.··Yes.
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·1·· · · · · ··COURT REPORTER:··And wait until he's         ·1·· · · ··Q.··And what real estate?
·2···finished asking the question before you answer,        ·2·· · · ··A.··The 11423 Spotted Fawn Lane property.
·3···it's really hard for met to get you both talking at    ·3·· · · ··Q.··Any other real estate that Candy owned?
·4···the same time.                                         ·4·· · · ··A.··No.
·5·· · · · · ··THE WITNESS:··Yes.                           ·5·· · · ··Q.··Okay.··Do you have any ownership in any
·6·· · · ··A.··Technically we had another lot that me       ·6···entities?
·7···and my daughter bought in 1992, also, I believe,       ·7·· · · ··A.··No.
·8···just a vacant lot that we were going to build a        ·8·· · · ··Q.··I have seen an address used for Candy
·9···home on and then we discovered water in it, and        ·9···in --
10···sold it quickly.                                       10·· · · · · ··(Slight disturbance, discussion held off
11·· · · ··Q.··(BY MR. GARDNER)··Okay.··So you and Candy    11···the record.)
12···rented a home after you got married?                   12·· · · ··Q.··(BY MR. GARDNER)··I've seen reference to
13·· · · ··A.··Yes.                                         13···an address in Columbia Falls for Candy in 2019, do
14·· · · ··Q.··You never owned a home in Utah?··After       14···you know what that is?
15···you and Candy got married --                           15·· · · ··A.··2019?··The only thing I'm aware of is
16·· · · ··A.··Oh, no, her and I never owned a home, no.    16···that her mother has homesteaded property in
17·· · · ··Q.··Okay.··So you rented.··And when did you      17···Columbia Falls from the 1800s, I believe.
18···move to Montana?                                       18·· · · ··Q.··Okay.··So back to your dad's estate.··In
19·· · · ··A.··In -- Okay.··So our lease expired in end     19···June of 20 -- June 26th of 2019, when you had that
20···of June in 2020, but -- and I don't know when          20···meeting --
21···technically I would've moved -- I guess I had an       21·· · · ··A.··Yes.
22···open lease in Utah until then, but I was up here       22·· · · ··Q.··-- approximately how much money was there
23···from February -- well, I was back and forth, I was     23···to divide up between the heirs?
24···up here trying to get carpet out of this other home    24·· · · ··A.··Between the heirs, between the
25···earlier than that, but tech -- I don't know,           25···beneficiaries, we paid Hugh's wife first, so she


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·1···wasn't a beneficiary, I guess, but she was an heir,     ·1·· · · ··Q.··Okay.··So what was the total amount that
·2···and after the beneficiaries were left, I believe it     ·2···you ended up getting?
·3···was 2 point -- guessing, 2.2 million.··I can tell       ·3·· · · ··A.··426,000-some-odd, I don't remember the
·4···you the amounts of each person -- well, I guess I       ·4···exact amount.
·5···don't know exactly.                                     ·5·· · · ··Q.··Okay.··And how were you paid that money?
·6·· · · ··Q.··Okay.··How many siblings do you have?         ·6·· · · ··A.··I went to the bank and wrote myself a
·7·· · · ··A.··Six.                                          ·7···check.
·8·· · · ··Q.··Including you?                                ·8·· · · ··Q.··Explain that to me.
·9·· · · ··A.··Yes, so actually seven, sorry, seven.         ·9·· · · ··A.··Okay.··So the other siblings, I had
10·· · · ··Q.··Were they all beneficiaries?                  10···written their checks out before the meeting and had
11·· · · ··A.··No.                                           11···them there at the meeting for them, but I didn't do
12·· · · ··Q.··Okay.··How many were beneficiaries?           12···mine.··And I think the next -- well, day or two, I
13·· · · ··A.··Six.                                          13···went and had a cashier's check made.
14·· · · ··Q.··And what are their names?                     14·· · · ··Q.··Okay.··To you?
15·· · · ··A.··Mary Williams, Kent Williams -- Mary          15·· · · ··A.··To myself, yeah.
16···Carter, excuse me, her married name, Mary Carter,       16·· · · ··Q.··For the full amount?
17···Kent Williams, Karen Priest, Brenda Harbers, and        17·· · · ··A.··Yes, 426,000, I believe, yes.
18···Duffy Williams.                                         18·· · · ··Q.··One cashier's check?
19·· · · ··Q.··And so did all of the siblings receive        19·· · · ··A.··Yes.
20···the same amount except for you?                         20·· · · ··Q.··And what did you -- First off, why didn't
21·· · · ··A.··Yes.                                          21···you do your check in advance of the meeting the
22·· · · ··Q.··Okay.                                         22···same way you did your siblings?
23·· · · ··A.··Just to add in there, because of the way      23·· · · ··A.··I didn't see any hurry to do it.
24···it was on the thing, one sibling, Mary, bought a        24·· · · ··Q.··Okay.··What did you do with that
25···truck or took a truck out the estate, so that           25···cashier's check?

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·1···amount was deducted.··Duffy wanted a tractor, and       ·1·· · · ··A.··Took it home and put it in one of those
·2···that amount was deducted and went back into the         ·2···little safes.
·3···amount to be divided.                                   ·3·· · · ··Q.··You didn't do anything -- and that was
·4·· · · ··Q.··Okay.··At that time, in June of 2019, was     ·4···about July 1st; right?
·5···there any dissension among the siblings as to your      ·5·· · · ··A.··I believe so, yes.
·6···handling of the estate?                                 ·6·· · · ··Q.··Okay.··You didn't do anything with it at
·7·· · · ··A.··No, they were all happy as could be.          ·7···that time?
·8·· · · ··Q.··Okay.                                         ·8·· · · ··A.··No.
·9·· · · ··A.··We all considered it pretty much a            ·9·· · · ··Q.··Okay.··What's the next thing you did with
10···miracle that we got through this and got any money.     10···it?
11·· · · ··Q.··Okay.··Did Kent ever press you for an         11·· · · ··A.··At some point, and I believe it was -- I
12···accounting in June of 2019?                             12···think I've given it to you so you have copies of
13·· · · ··A.··I don't believe so.··An accounting?··No,      13···it, but I went and broke out that cashier's check
14···huh-uh, no.··He wanted to be sure that he got his       14···into another one, and put 25,000 to myself and
15···money by the end of August, but that's all that he      15···deposited that in my U.S. Bank account to pay
16···ever pressed me for, he wanted to make sure that he     16···bills.
17···got the rest of his money by the end of August.         17·· · · ··Q.··What do you mean you went and broke it
18···And, you know, I just said, we'll do what we can,       18···out into another one?··Describe that.
19···but it was in probate, so it wasn't -- he thought       19·· · · ··A.··I had one cashier's check at home, I took
20···the day the probate ended, it would be over, but I      20···it to the bank, had them make a cashier's check for
21···didn't see it that way.                                 21···I believe 401,000, something like that, and 25,000
22·· · · ··Q.··Around the time of this meeting did Kent      22···even, I believe, went into a cashier's check which
23···ever tell you that if he thought you mishandled it,     23···I ran right over to U.S. Bank.
24···he would come after you?                                24·· · · ··Q.··So you had a $426,000 cashier's check?
25·· · · ··A.··No.                                           25·· · · ··A.··Uh-huh.


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·1·· · · ··Q.··You didn't take it to a bank and deposit      ·1·· · · ··A.··But it went for bills, basically.··Went
·2···it; correct?                                            ·2···into my checking account and was used for bills and
·3·· · · ··A.··No.                                           ·3···what have you.
·4·· · · ··Q.··You took it home and then you took it         ·4·· · · ··Q.··(BY MR. GARDNER)··The Amex, the $17,000
·5···back to the bank, and rather than depositing it --      ·5···paid to American Express, was that American Express
·6·· · · ··A.··Split it out.                                 ·6···account solely you or was that a joint American
·7·· · · ··Q.··-- you traded it in for two more              ·7···Express account with Candy?
·8···cashier's check?                                        ·8·· · · ··A.··It's solely mine.
·9·· · · ··A.··Yes, yeah.                                    ·9·· · · ··Q.··I'm going to hand you what we'll mark as
10·· · · ··Q.··Why didn't you deposit it in the bank?        10···Exhibit 1.
11·· · · ··A.··I was concerned that if I put it in my        11···EXHIBITS:
12···bank account it would start to get flittered away.      12·· · · · · ··(Deposition Exhibit Number 1 marked for
13···That's all I had in the world and I just didn't         13···identification.)
14···want to start -- you know, I didn't want to put it      14·· · · ··A.··Thank you.
15···in a bank account that I had that I could draw on       15·· · · ··Q.··(BY MR. GARDNER)··And that is a U.S. Bank
16···and start using money.                                  16···statement; correct?
17·· · · ··Q.··Okay.··So that 426,000 that you got from      17·· · · ··A.··Yes, yes.
18···the estate, that was your money; right?                 18·· · · ··Q.··And the account is Scott K. Williams and
19·· · · ··A.··Yeah, uh-huh.                                 19···Candy L. Willden; correct?
20·· · · ··Q.··And that was pretty much all the money        20·· · · ··A.··That's what it says, correct.
21···you had in the world?                                   21·· · · ··Q.··Okay.··And you see down where it says
22·· · · ··A.··Yes, other than what was -- whatever          22···Deposits/Credits, there's a $25,000 credit?
23···change was in my bank accounts and savings and such     23·· · · ··A.··Oh yes, okay, yes.
24···there, yes, that's the only large amount of cash I      24·· · · ··Q.··Yeah, July 1 there's deposit of
25···had.                                                    25···$25,000 --

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·1·· · · ··Q.··And that was your only asset of any real      ·1·· · · ··A.··Yes.
·2···substance; right?                                       ·2·· · · ··Q.··-- that's the $25,000 you just talked
·3·· · · ··A.··Yes, other than, you know, trucks and a       ·3···about where you took your money and got a $25,000
·4···couple of trailers and stuff like that, yes, of any     ·4···cashier's check --
·5···substance, I think you're right.                        ·5·· · · ··A.··Correct.
·6·· · · ··Q.··And so now you've got two cashier's           ·6·· · · ··Q.··-- and put it into a U.S. Bank account;
·7···checks, one for 401,000 and one for 25,000?             ·7···correct?
·8·· · · ··A.··It was in the bank the same day, I            ·8·· · · ··A.··Yeah, my U.S. Bank account.
·9···believe.                                                ·9·· · · ··Q.··And it's this U.S. Bank account --
10·· · · ··Q.··Okay.··And so the 25,000 went into a          10·· · · ··A.··Yes.
11···joint checking account that you and Candy had at        11·· · · ··Q.··-- which is in the name of Scott Williams
12···U.S. Bank?                                              12···and Candy Williams -- or Willden?
13·· · · ··A.··It's not a joint account.                     13·· · · ··A.··Problem there, when we got married that
14·· · · ··Q.··It's not a joint account?                     14···became my account only because she can't use it
15·· · · ··A.··No.                                           15···with her married name.
16·· · · ··Q.··Okay.··That's your sole account?              16·· · · · · ··MS. WILLIAMS:··It's a different last
17·· · · ··A.··Yes.                                          17···name.
18·· · · ··Q.··And what was that 25,000 used for?            18·· · · · · ··MR. GARDNER:··Pardon me, you'll have your
19·· · · ··A.··We've looked at it since then, I believe      19···chance.
20···$17,000 I paid on an American Express bill and the      20·· · · · · ··MS. WILLIAMS:··Sorry.
21···rest went to whatever bills, credit cards, may have     21·· · · ··Q.··(BY MR. GARDNER)··The name of this
22···gone to rent, I don't know.                             22···account is both you and Candy; correct?
23·· · · · · ··COURT REPORTER:··May have gone to what?       23·· · · ··A.··That's what this printed paper says, but
24·· · · · · ··THE WITNESS:··May have gone to rent.          24···she cannot use that account with that name, making
25·· · · · · ··COURT REPORTER:··Thank you.                   25···it only my account.··Does that make sense to you?


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·1·· · · ··Q.··I understand what you're saying --           ·1···It's a Cenex right there as you go up to -- no, no,
·2·· · · ··A.··Okay, all right.                             ·2···it's not Glacier Travel Stop, that was the -- that
·3·· · · ··Q.··-- yes.                                      ·3···was the name of what her coffee company was going
·4·· · · · · ··And you can leave those there.               ·4···to be.··It's a Cenex right there at the
·5·· · · ··A.··Oh, okay.                                    ·5···intersection of -- going up to the park and where
·6·· · · ··Q.··So you have another cashier's check for      ·6···the highway comes from Bigfork up to intersect
·7···about $401,000?                                        ·7···with --
·8·· · · ··A.··Yes, uh-huh.                                 ·8·· · · ··Q.··Columbia Falls?
·9·· · · ··Q.··What did you do with that check?             ·9·· · · ··A.··Yeah, exactly.
10·· · · ··A.··Okay.··So, again, I had that at my house.    10·· · · ··Q.··Columbia Falls Heights?
11···On, I believe, August 3rd, I went to Zions Bank,       11·· · · ··A.··Yeah, Columbia Falls Heights.
12···put that -- or put -- with that cashier's check,       12·· · · ··Q.··Okay.··So what is Glacier Travel Stop?
13···made a cashier's check out to Viking Investments       13·· · · ··A.··I believe that's the name of her -- a dba
14···LLC for $400,000.··I to this day cannot remember       14···that she had that she was gonna use for a coffee
15···the thousand-dollar difference, I assume I got that    15···stand if we got that gas station.
16···in cash, but I think I would remember putting          16·· · · ··Q.··Okay.··So you took your $400,000 --
17···$1,000-something cash in my pocket, but that's the     17·· · · ··A.··Uh-huh.
18···only thing I could've done, is get cash, I don't       18·· · · ··Q.··-- traded in the cashier's check that you
19···think there's any -- I don't know what else I          19···had already traded in once and got a new cashier's
20···would've done except that.                             20···check to Viking Investments LLC?
21·· · · · · ··So I took that                               21·· · · ··A.··Exactly.
22···401-something-thousand-dollar check on I believe       22·· · · ··Q.··For $400,000?
23···August 3rd, made it into a $400,000 cashier's check    23·· · · ··A.··Yes.
24···to Viking Investments, and I believe pocketed the      24·· · · ··Q.··And Viking Investments LLC is owned
25···cash difference; that's what I believe.                25···solely by Candy; correct?

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·1·· · · ··Q.··Okay.··And what is Viking Investments        ·1·· · · ··A.··Yes.
·2···LLC?                                                   ·2·· · · ··Q.··Why did you put your $400,000 into
·3·· · · ··A.··It is Candy's LLC that she had just          ·3···Viking's account and not your account?
·4···opened up, I don't know, before that, a month          ·4·· · · ··A.··Because I had been for months planning to
·5···before, I believe.                                     ·5···possibly purchase that gas station, by the time I
·6·· · · ··Q.··Why had Candy opened up Viking               ·6···got up there and looked at it and actually had an
·7···Investments LLC?                                       ·7···appointment with them, I went in and got their
·8·· · · ··A.··Because our plan was to move to Montana      ·8···books and saw how much it was losing, I still
·9···after my father died, we had planned -- she's from     ·9···considered it because it was such a good deal as
10···here, she -- we'd planned on moving back for years.    10···far as the property, the property alone was worth
11···I didn't have a job, she would have had to give up     11···what they were doing.··But when I saw how much they
12···her job.··She had, for years, been looking at maybe    12···were losing, how much -- how many hours it would
13···doing a coffee shop or something up here.··I had       13···take to turn it around, and one of the key things I
14···been looking at a gas station to buy for months        14···saw was it would take $10,000 to fill their gas
15···before that.··And she was thinking about putting a     15···tanks, I think I -- I think the price was $395,000,
16···coffee shop up, so she had opened up I guess a bank    16···but I didn't feel like it made sense.··I didn't --
17···account and stuff -- a bank account, a business and    17···I didn't want to bite that off, and work 24/7
18···the whole thing.                                       18···again.
19·· · · · · ··I didn't have time to come up here to        19·· · · ··Q.··When was that that you were looking at
20···look at stuff all the time, but bottom line is she     20···the gas station?
21···had plans, things that -- she had irons in the         21·· · · ··A.··Let me look at the date we actually went
22···fire, I had one iron in the fire and it died.          22···there.··I had looked at it for months, told all my
23·· · · ··Q.··That potential gas station, what was the     23···siblings , talked about it, but had not actually
24···name of that?··Was it Glacier Travel Stop?             24···been able to go up there until then.··Did I give
25·· · · ··A.··I don't know if that's the name of it.       25···you the timeline?


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·1·· · · ··Q.··The timeline is on the back of that first     ·1·· · · ··Q.··Okay.··So take the gift out of it, you
·2···one, I think, or the last few pages of that first       ·2···transferred it to Viking?
·3···one.                                                    ·3·· · · ··A.··Right.
·4·· · · ··A.··Okay.··Okay, so basically -- Okay.··So we     ·4·· · · ··Q.··And in return, Viking said it would pay
·5···were there on 7/24 looking for a venue for her          ·5···off your credit cards?
·6···daughter's wedding.··I actually went and physically     ·6·· · · ··A.··And give me my money back, my 400,000
·7···saw the gas station for the first time, got the         ·7···back, yes.
·8···books, and on 7/24 basically I had ruled it out         ·8·· · · ··Q.··Okay.··Was this agreement in writing
·9···after seeing the books and knowing what it would        ·9···anywhere?
10···take to do.··So that was the only thing I had been      10·· · · ··A.··No, huh-uh.
11···planning on for months, and I just -- I didn't have     11·· · · ··Q.··Okay.··If you had -- you had tens of
12···another plan.                                           12···thousands of dollars in credit card bills; correct?
13·· · · ··Q.··Okay.··And so the plan changed from           13·· · · ··A.··You have that, I assume that's correct,
14···buying a business in your own name to putting all       14···yeah.
15···of the money into an account owned by an LLC that       15·· · · ··Q.··Yes.··And you got the $25,000 cashier's
16···you had no interest in?                                 16···check?
17·· · · ··A.··Correct.                                      17·· · · ··A.··Yeah.
18·· · · ··Q.··Why?                                          18·· · · ··Q.··And you used 17,000 of that --
19·· · · ··A.··I think I just explained, I didn't have       19·· · · ··A.··Yes.
20···anything else that I was ready to do, and she had a     20·· · · ··Q.··-- to pay off a credit card.··And you
21···business set up and she had plans that she'd had        21···didn't use any of that other money to pay off your
22···for not months, years, and I didn't have any other      22···credit cards at that time, did you?
23···options.                                                23·· · · ··A.··At that time, no.
24·· · · ··Q.··Okay.··So you gave the money to Viking,       24·· · · ··Q.··You transferred it to Viking instead?
25···what did Viking give to you?                            25·· · · ··A.··Correct.

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·1·· · · ··A.··I didn't give it to Viking.··Give like in     ·1·· · · ··Q.··And you could've used it to pay off all
·2···gift it?··I transferred it, I believe is the proper     ·2···those?
·3···word, but I didn't give her anything.                   ·3·· · · ··A.··I could've, yes.
·4·· · · ··Q.··Okay.··So you transferred it --               ·4·· · · ··Q.··Okay.··But instead you gave it to Viking
·5·· · · ··A.··Yes.                                          ·5···Investments LLC?
·6·· · · ··Q.··-- into Viking's bank account?                ·6·· · · ··A.··Transferred it to Viking Investments LLC.
·7·· · · ··A.··Yes.                                          ·7·· · · ··Q.··Okay.··You transferred it to Viking
·8·· · · ··Q.··Did you have control over Viking's bank       ·8···Investments LLC, you got no money in return;
·9···account?                                                ·9···correct?
10·· · · ··A.··No.                                           10·· · · ··A.··I immediately, within days I think,
11·· · · ··Q.··So then did you have control over the         11···started getting money back.··The agreement was she
12···$400,000?                                               12···had to pay the bills that we were doing -- the
13·· · · ··A.··No.                                           13···household bills.··I had paid all the household
14·· · · ··Q.··Then you gave it to Candy; correct?           14···bills before, the lease, the water bill, any kind
15·· · · ··A.··Not gave, gave is a gift with nothing         15···of utilities, she immediately began paying my
16···coming back.                                            16···bills, any credit card bill that came due, lease,
17·· · · ··Q.··Okay.                                         17···rent, whatever, cell phone.
18·· · · ··A.··We basically had an agreement because I       18·· · · ··Q.··Here's what I'm struggling with, you had
19···had no income --                                        19···the $400,000?
20·· · · ··Q.··Okay.                                         20·· · · ··A.··Right.
21·· · · ··A.··-- so we basically had an agreement that      21·· · · ··Q.··You had debts you owed, but instead of
22···she would pay my bills, which she started doing         22···paying those or paying your own bills, you
23···almost immediately.··She would, as soon as she          23···transferred it to somebody else and you then had no
24···could, pay off my credit cards, any debt that I         24···control over it; correct?
25···have, and then we would go from there.                  25·· · · ··A.··Correct.


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·1·· · · ··Q.··Okay.··At the time you transferred it was     ·1···got a job, I guess.
·2···the idea in place to buy a home with that money?        ·2·· · · ··Q.··Okay.··And likewise, if your siblings
·3·· · · ··A.··Not necessarily.··I think she had looked      ·3···made a stink about what you did in managing the
·4···at several homes, but we -- I don't think we'd even     ·4···your father's estate, you had no way of paying any
·5···seen the home that she bought by that date.             ·5···of that money back; correct?
·6·· · · ··Q.··Okay.··Do you have a written agreement        ·6·· · · ··A.··If they had made a stink, yeah, but there
·7···with Viking that in return for giving them this         ·7···was no stink.··There was nothing but
·8···money, Viking would then pay all of your bills?         ·8···congratulations and thank-yous at this time.
·9·· · · ··A.··No, didn't need one, it's my wife.            ·9·· · · ··Q.··Okay.··I think you talked about this
10·· · · ··Q.··Okay.··Viking is basically your wife;         10···earlier, so I'm going to mark this as Deposition
11···correct?                                                11···Exhibit Number 2.
12·· · · ··A.··Yes.                                          12···EXHIBITS:
13·· · · ··Q.··Candy?                                        13·· · · · · ··(Deposition Exhibit Number 2 marked for
14·· · · ··A.··Yes.                                          14···identification.)
15·· · · ··Q.··Okay.··And so once you transferred that       15·· · · ··A.··Thank you.
16···$400,000, you had no more than 1,000 or $2,000 to       16·· · · ··Q.··(BY MR. GARDNER)··Is this the release we
17···your name; correct?                                     17···were talking about earlier?
18·· · · ··A.··Yeah, my truck was paid off, I had a          18·· · · ··A.··Yes.
19···couple of vehicles, but yeah, correct.                  19·· · · ··Q.··And I think your testimony was this is
20·· · · ··Q.··And you had a truck that you have valued      20···the release that you tried to require each of your
21···in the bankruptcy at 3 or 4 thousand dollars now;       21···siblings to sign before they received their money?
22···correct?                                                22·· · · ··A.··I don't believe I said that.
23·· · · ··A.··Yeah, what, four years later, yeah.           23·· · · ··Q.··Okay.
24·· · · ··Q.··Yeah.··And no other liquid assets?            24·· · · ··A.··The attorney in his office did that, I
25·· · · ··A.··Except for the money she was paying me        25···didn't require anything.

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·1···back, yeah.                                             ·1·· · · ··Q.··Okay.··You didn't ask the attorney to
·2·· · · ··Q.··Yeah, so you transferred the $400,000,        ·2···prepare this?
·3···you didn't have control over it?                        ·3·· · · ··A.··No.
·4·· · · ··A.··Right.                                        ·4·· · · ··Q.··You were --
·5·· · · ··Q.··And you relied on her to give it back to      ·5·· · · ··A.··No, no, I was quite surprised when I got
·6···you if you needed it?                                   ·6···this the night before because the -- it literally
·7·· · · ··A.··Yes.                                          ·7···says Accepts such property in full payment and
·8·· · · ··Q.··Okay.··And you had no other investments;      ·8···satisfaction, and this was -- they got almost all
·9···correct?                                                ·9···the money, but it wasn't a complete distribution at
10·· · · ··A.··No.                                           10···that time.
11·· · · ··Q.··And you had no gold, no silver, no money      11·· · · ··Q.··And you reviewed this the night before?
12···in PayPal or Venmo accounts?                            12·· · · ··A.··I got it -- yeah, I got it the night
13·· · · ··A.··No.                                           13···before.
14·· · · ··Q.··Nothing like that?                            14·· · · ··Q.··And you didn't tell the attorney to not
15·· · · ··A.··No.                                           15···try to --
16·· · · ··Q.··So you had no way of paying your living       16·· · · ··A.··No, I didn't know the difference.··He's
17···expenses?                                               17···an attorney, I'm a layperson, I trusted him, I
18·· · · ··A.··Of course I did, we show she paid all of      18···guess.
19···my living expenses --                                   19·· · · ··Q.··All right.··So you said you trusted him,
20·· · · ··Q.··Okay.                                         20···but you looked at this and you knew it was wrong --
21·· · · ··A.··-- by agreement.                              21·· · · ··A.··I looked at it and said I --
22·· · · ··Q.··Okay.··And you had no way, without Candy      22·· · · ··Q.··Can you let me finish?
23···giving you money back, to pay your credit card          23·· · · ··A.··Sorry.
24···debts at that time?                                     24·· · · ··Q.··So you looked at it, you knew it was
25·· · · ··A.··No, besides Candy, no, unless I went and      25···wrong and --


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·1·· · · ··A.··I didn't know it was wrong --                 ·1···Brenda --
·2·· · · ··Q.··Well, you knew --                             ·2·· · · ··Q.··Okay.
·3·· · · ··A.··-- I just said I wouldn't sign it.            ·3·· · · ··A.··-- who lives in Missouri, I believe, and
·4·· · · ··Q.··You just said Accept such property in         ·4···she emailed it back on the 28th, so three of the
·5···full payment and satisfaction of the undersigned        ·5···six.
·6···interest, you knew that wasn't accurate; right?         ·6·· · · ··Q.··Okay.
·7·· · · · · ··MR. SHIMANEK:··I think he's answered the      ·7·· · · ··A.··And I didn't sign it, I don't know if I
·8···question, Trent.                                        ·8···ever needed to sign it.··I didn't even get a copy
·9·· · · · · ··MR. GARDNER:··Okay.                           ·9···with my name on it, as I recall.
10·· · · ··Q.··(BY MR. GARDNER)··Also under number 4         10·· · · ··Q.··Did you ask the attorney?
11···this includes a statement that it waives any            11·· · · ··A.··No.
12···accounting required under the Utah Uniform Probate      12·· · · ··Q.··Okay.··Did Duffy sign it?
13···Code; correct?                                          13·· · · ··A.··No, Duffy -- Duffy was paid I believe the
14·· · · ··A.··It does, yes.                                 14···day before, the 26th.··He had -- the guy who bought
15·· · · ··Q.··And that is one of the things that your       15···the house of Hugh's, really doing us a favor buying
16···siblings are now complaining about, is that there's     16···that house, we didn't own it, but my dad was livid
17···been no accounting done for the estate; correct?        17···that Lois not live in that house and get remarried
18·· · · ··A.··No, it's been completely done and the         18···in the same neighborhood.··So Lois's son-in-law
19···taxes have been paid.                                   19···lawyer basically turned over to me the showing of
20·· · · ··Q.··Okay.··And number 5, there's a provision      20···the house and we found the guy who was actually a
21···that also releases the personal representative of       21···friend of and a landlord of Duffy's who bought the
22···the estate from any and all liability in connection     22···house, okay?
23···with the undersigned interest in the estate?            23·· · · · · ··So Duffy owed him $20,000, he was
24·· · · ··A.··And that, to me, looked like a                24···hounding him for it.··Because of that, I went to
25···standard -- something that you would standardly put     25···the bank the day before, got him his money so he

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·1···on there, I would assume.                               ·1···could pay that guy, with a promise that he would
·2·· · · ··Q.··Did you ask your attorney if it was           ·2···sign this the next day at the meeting; he didn't
·3···standard?                                               ·3···show up at the meeting.
·4·· · · ··A.··No.                                           ·4·· · · ··Q.··Okay.
·5·· · · ··Q.··Okay.··The personal representative is         ·5·· · · ··A.··So this was not ready when Duffy got his
·6···you; correct?                                           ·6···money.··He promised me it would be the next day and
·7·· · · ··A.··Yes, yes.                                     ·7···he didn't show up.
·8·· · · ··Q.··And so this release is releasing any          ·8·· · · ··Q.··And Kent was at the meeting?
·9···claims against you for what you did with the            ·9·· · · ··A.··Kent was at the meeting.
10···estate?                                                 10·· · · ··Q.··And Kent looked at this; correct?
11·· · · ··A.··Right.                                        11·· · · ··A.··Yeah, Kent looked at this talked to the
12·· · · ··Q.··Including if there was something improper     12···attorney and said, I'll get back to you later, I'm
13···for the extra $75,000 you took?                         13···not sure what he talked to the attorney about
14·· · · ··A.··I assume, I don't know.··I'm not a            14···exactly.
15···lawyer, I don't -- sometimes, as I've seen over the     15·· · · ··Q.··Did you have any conversation with Kent
16···last years, what you believe the law says is not        16···about any release?
17···what it means.··I don't know.                           17·· · · ··A.··Not on that date, no.
18·· · · ··Q.··Fair enough.                                  18·· · · ··Q.··Did you have a conversation with him
19·· · · ··A.··All right.                                    19···about it later?
20·· · · ··Q.··I've seen that many times in my career.       20·· · · ··A.··Yeah, he said I don't like the taxes of
21·· · · ··A.··Yes.                                          21···the -- I don't recall exactly because I didn't
22·· · · ··Q.··How many of your siblings signed this?        22···really care what he said.··Basically he went home,
23·· · · ··A.··So as you can see, this was signed on the     23···cut this off and typed up what he wanted on there.
24···28th, so two sisters signed it in the office, this      24···And I didn't care, I wasn't signing it.··He just
25···was emailed to my sister who lives -- this is           25···typed it up and did something different.··I don't


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·1···know what his conversations were with the attorney,     ·1·· · · ··Q.··This did come from you.
·2···but it -- you know, I just --                           ·2·· · · ··A.··It did?
·3·· · · ··Q.··So within a couple days --                    ·3·· · · ··Q.··Yes.
·4·· · · ··A.··-- I didn't care.                             ·4·· · · ··A.··Okay.··So basically what I believe was a
·5·· · · ··Q.··-- Kent went home and typed up something      ·5···$2500 bill to this attorney, he's claiming it's a
·6···different?                                              ·6···$250,000 bill.··And he's saying that -- as you can
·7·· · · ··A.··Yes.                                          ·7···see, this was issued on July 1st, well, I'd already
·8·· · · ··Q.··And gave that to you; correct?                ·8···given Duffy his money, so I -- I believe I answered
·9·· · · ··A.··Yes.                                          ·9···this myself, didn't even run it through the trust
10·· · · ··Q.··And what he gave you did not include a        10···attorney, just filled it out and said I don't have
11···release of you; correct?                                11···any of Duffy's money, it's already been
12·· · · ··A.··I don't have a copy of it, so I don't         12···distributed, and filed it with the court, this
13···know exactly what it had, I just remember the taxes     13···court.
14···was the main thing.··Because I remember thinking        14·· · · ··Q.··Okay.··So this is that lawsuit you were
15···that's not legal anyway, so it doesn't matter.··I       15···talking about --
16···believed that the beneficiaries would all -- or the     16·· · · ··A.··Yes.
17···trust had to pay the taxes, so the beneficiaries        17·· · · ··Q.··-- earlier with the former attorney --
18···were responsible for that if they got too much          18·· · · ··A.··Yeah.
19···money.··And I reserved money so I didn't think it       19·· · · ··Q.··-- suing Duffy?
20···was a problem.                                          20·· · · ··A.··Right.
21·· · · ··Q.··When you say the beneficiaries have to        21·· · · ··Q.··And then he brought you into it?
22···pay the taxes, explain that to me.                      22·· · · ··A.··And then he brought me into it, exactly.
23·· · · ··A.··Okay.··For some reason I have been -- I       23·· · · ··Q.··So this was an order granting a TRO that
24···believe I've been told by counsel, I don't know,        24···was issued on July 1st, 2019; correct?
25···but any taxes that are estate taxes obviously come      25·· · · ··A.··Yes.

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·1···out of the estate and aren't part of the                ·1·· · · ··Q.··And you were aware of this when it was
·2···distribution to beneficiaries, so they would be         ·2···issued, it was brought to your knowledge?
·3···owed and be deducted from the estate before the         ·3·· · · ··A.··Yeah, he emailed it directly to me.
·4···beneficiaries were divided six ways.                    ·4·· · · ··Q.··Okay.··And then after that, on July 17 or
·5·· · · ··Q.··Okay.··So when the beneficiaries get the      ·5···sometime around there --
·6···distribution, they don't have to pay more taxes on      ·6·· · · ··A.··It was 17th, yes.
·7···it?                                                     ·7·· · · ··Q.··Okay.··So I'm handing you what we'll mark
·8·· · · ··A.··Yeah, well, it would be the -- it would       ·8···as Exhibit 4.
·9···be the -- if the estate had taxes due, I didn't         ·9·· · · ··A.··Right.
10···want to give them more money than we had, and I         10···EXHIBITS:
11···didn't know what the taxes would be, and that's         11·· · · · · ··(Deposition Exhibit Number 4 marked for
12···what I understood.                                      12···identification.)
13·· · · ··Q.··Okay.··I'm going to hand you what we'll       13·· · · ··Q.··(BY MR. GARDNER)··And this is a copy of a
14···mark as Exhibit 3.                                      14···summons out of your file.··And that is a summons to
15·· · · · · ··Oh, if you need a break at any time, just     15···you to answer the lawsuit; correct?
16···let me know.                                            16·· · · ··A.··Yes.
17·· · · ··A.··Sure.                                         17·· · · ··Q.··And so that's 4.··And now I'll hand you
18···EXHIBITS:                                               18···Exhibit 5.
19·· · · · · ··(Deposition Exhibit Number 3 marked for       19···EXHIBITS:
20···identification.)                                        20·· · · · · ··(Deposition Exhibit Number 5 marked for
21·· · · ··Q.··(BY MR. GARDNER)··Do you recognize that       21···identification.)
22···document?                                               22·· · · ··Q.··(BY MR. GARDNER)··And Exhibit 5 is a copy
23·· · · ··A.··Yes, I believe this is a copy of the -- I     23···of a First Amended Complaint --
24···don't know if this is what I supplied to you,           24·· · · ··A.··Okay.
25···without looking at it directly.                         25·· · · ··Q.··-- adding you as a defendant in that


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·1···lawsuit; correct?                                       ·1···talked about anything, but she was ready to go with
·2·· · · ··A.··Yes.                                          ·2···it.··In fact she had already -- she had already
·3·· · · ··Q.··Okay.··And this document is dated             ·3···opened a mailbox, I believe, a couple months before
·4···July 17, the same date as the summons; correct?         ·4···that.
·5·· · · ··A.··Yeah, yeah.                                   ·5·· · · ··Q.··In Viking Investments?
·6·· · · ··Q.··Okay.··And if you can turn to page 19,        ·6·· · · ··A.··Yes.
·7···second to the last page.··And actually you can just     ·7·· · · ··Q.··Viking Investments LLC didn't exist a
·8···turn to the very last page, if you would, page 21       ·8···couple months before that.
·9···of 21, in paragraph 5 he's asking for a judgment        ·9·· · · ··A.··Yeah, I don't know, I thought she had
10···against you of 2.5 --                                   10···already gotten a post office box or something.
11·· · · ··A.··2.55 million, that's pretty good.             11·· · · ··Q.··Do you know when Viking Investments was
12·· · · ··Q.··Yeah, this is on July 17, 2019?               12···created?
13·· · · ··A.··Yeah.                                         13·· · · ··A.··Yeah, I can tell you, I believe it's on
14·· · · ··Q.··And you've had litigation filed against       14···here.··I believe on July 25th.
15···you seeking over $2 million; correct?                   15·· · · ··Q.··Okay.
16·· · · ··A.··Yeah.                                         16·· · · ··A.··Or July -- I'm not positive of this, but
17·· · · ··Q.··And at this point you're still in             17···around the end of July, yeah.
18···possession of the $400,000; correct?                    18·· · · ··Q.··Okay.
19·· · · ··A.··Yeah, uh-huh.                                 19·· · · ··A.··And again, we lived in Utah, so she
20·· · · ··Q.··Okay.··Who came up with the idea of           20···probably did it on a trip when we were up here.··Oh
21···Viking Investments LLC?                                 21···yeah, it would be the same day that we were looking
22·· · · ··A.··Candy, she's always been a fan of the         22···at the gas station, yeah, same trip.
23···Minnesota Vikings.                                      23·· · · ··Q.··Okay.
24·· · · ··Q.··Okay.··So she came up with the name, who      24·· · · ··A.··And scouting a location for her
25···came up with the idea of forming an entity?             25···daughter's wedding.

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·1·· · · ··A.··She did.··She had -- she had -- I don't       ·1·· · · ··Q.··Okay.··And your testimony is the
·2···know what year it was, but she had an entity with       ·2···formation of Viking Investments had nothing to do
·3···her mom called Western Explorer Travel that was an      ·3···with wanting to buy a house?
·4···entity filed in Nevada, I believe, with her mother,     ·4·· · · ··A.··No, we -- that was a possibility of
·5···she was going to do a travel company.··And she just     ·5···something she was looking at, but we had no plan to
·6···always wanted to get into business because the job      ·6···do anything on that date.··I mean, she had multiple
·7···she's in I guess is -- you know, she'd rather be        ·7···options she was pursuing.··And I had one, and it
·8···doing something on her own, I guess, so she's           ·8···fell through.
·9···always been trying to hustle to do a different          ·9·· · · ··Q.··Why aren't you a member of Viking
10···business, I guess.                                      10···Investments LLC?
11·· · · ··Q.··Okay.··So the idea to form Viking             11·· · · ··A.··I guess I didn't want to be associated, I
12···Investments LLC was Candy's and it wasn't your?         12···just wanted the money back.··We've always been kind
13·· · · ··A.··No.                                           13···of independent, all her -- the only account we ever
14·· · · ··Q.··Did you have any involvement in the           14···had joint, I believe, is that one that became
15···formation of Viking Investments LLC?                    15···un-joint when we got married.··And she's always
16·· · · ··A.··I don't know.··I had researched it in         16···been independent.
17···Montana because of the gas station, so I don't know     17·· · · ··Q.··Okay.··So you wanted Viking Investments
18···if I advised her on anything, but I don't think I       18···to be completely separate from you?
19···needed to.··I think she'd had an LLC before, I          19·· · · ··A.··No, I didn't say that.
20···think she knew everything she needed to do.             20·· · · ··Q.··You didn't want to be a part of it, a
21·· · · ··Q.··What was the other LLC she had?               21···member; correct?
22·· · · ··A.··Western Explorer Travel in Nevada.            22·· · · ··A.··I didn't have a desire to be a part of it
23·· · · ··Q.··Okay.··So you weren't involved in putting     23···or not be a part of it, she just did it on her own.
24···the LLC together or filing the documents?               24·· · · ··Q.··Okay.··Do you remember whether you
25·· · · ··A.··No, like I said, I don't recall if we         25···prepared any of the formation documents for Viking


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·1···Investments?                                           ·1···Investments LLC has ever been involved in any other
·2·· · · ··A.··I don't believe so.··I don't recall.··I      ·2···businesses or done anything else besides buying
·3···mean, I think it's all online, so I don't --           ·3···that house?
·4·· · · ··Q.··Okay.··Were you involved in the purchase     ·4·· · · ··A.··Yes, when the -- she also, I believe,
·5···of the property at 11423 Spotted Fawn Lane?            ·5···wants to be in the consulting business, which what
·6·· · · ··A.··I went with her to look at it, but that's    ·6···she does right now is mortgage payroll and such, so
·7···about all I can recall.··I don't believe so.··I        ·7···I think she's -- her job is precarious.··And at the
·8···don't recall anything other than going to look at      ·8···time we didn't know what it would be with the
·9···it.                                                    ·9···mortgage business, obviously half of her company's
10·· · · ··Q.··Did you have any conversations with her      10···been laid off, so she's always been ready to do
11···about it?                                              11···something else.
12·· · · ··A.··Yeah, yeah, we talked about it.··I don't     12·· · · ··Q.··Okay.··That wasn't my question.
13···remember the figure they were originally asking for    13·· · · · · ··In the past, other than buying the
14···it, but I thought that's all of the money that         14···house --
15···you've got to do something with.··And we thought we    15·· · · ··A.··Uh-huh.
16···could do a quick flip.··It mostly -- it was the        16·· · · ··Q.··-- and paying some of your bills, Viking
17···property, I mean, it's 10 acres.··I mean, we talked    17···Investments LLC has never done anything else;
18···about it, but I don't think I was particularly for     18···correct?
19···it, I thought it was too high priced.                  19·· · · ··A.··I don't believe so.··I don't know that
20·· · · ··Q.··Did you have any other place to live in      20···she -- I guess I wouldn't know for sure, it's her
21···Montana?                                               21···business.
22·· · · ··A.··No, huh-uh, but we had still six             22·· · · ··Q.··Okay.··A few months after the purchase,
23···months -- well, nine months on a lease in Utah.        23···the home was transferred to Candy individually,
24·· · · ··Q.··Okay.··So it wasn't your decision whether    24···were you a part of that?
25···or not to purchase the home at Spotted Fawn?           25·· · · ··A.··Was I a part of it?··No, it's her house,

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·1·· · · ··A.··No, huh-uh.                                  ·1···her business.
·2·· · · ··Q.··And you live in that home now; correct?      ·2·· · · ··Q.··Did you have knowledge it was being
·3·· · · ··A.··Yes.                                         ·3···transferred to her individually?
·4·· · · ··Q.··And you've lived there ever since you        ·4·· · · ··A.··Yes, she wanted to pay off my credit
·5···moved to Montana?                                      ·5···cards, as agreed.··And I think at that time she
·6·· · · ··A.··Yes.                                         ·6···also had gotten into the house a little more and
·7·· · · ··Q.··Okay.··How was that home at Spotted Fawn     ·7···realized that we needed more money to put into it.
·8···purchased?                                             ·8···When we looked at it we thought it was a
·9·· · · ··A.··How was it purchased?                        ·9···carpet-and-paint kind of thing, but it turns out
10·· · · ··Q.··Yes, was cash used?··Was it financed?        10···the floor covering was rotten underneath.··And the
11·· · · ··A.··I don't believe they'll accept cash at       11···biggest problems is it had -- it had been -- the
12···the place.                                             12···guy who was there was elderly and died, and there
13·· · · ··Q.··When I say cash, I mean did Viking           13···were animals in the house and it took me -- me and
14···Investments LLC pay for it right there or did it       14···her probably months to get the smell out of it,
15···finance it?··Did it obtain a loan?                     15···replacing floorboards and baseboard and ripping
16·· · · ··A.··Oh, I believe she paid for it, yeah, I'm     16···stuff apart and chemically getting the smell out.
17···sorry, cash/check, I believe it was a check.           17·· · · ··Q.··Do you have personal knowledge of what
18·· · · ··Q.··So Viking Investments LLC paid for it and    18···Candy did with the money that she got out of when
19···it paid for it with the money that you had             19···she put the mortgage on the property or am I better
20···transferred to Viking Investments LLC a month or       20···asking Candy that?
21···two before; correct?                                   21·· · · ··A.··You're probably better asking Candy.··I
22·· · · ··A.··If -- yes, if you look at it like that, I    22···have an idea, but Candy is very detail oriented and
23···guess.··I transferred the money to her and she did     23···has all of that.··I was just making sure my bills
24···what she wanted with it.                               24···got paid and I had lights, I guess.
25·· · · ··Q.··Okay.··Do you know whether Viking            25·· · · ··Q.··I might have asked you this already, but


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·1···did you have access to Viking's bank accounts?         ·1·· · · ··A.··Yes.
·2·· · · ··A.··No.                                          ·2·· · · ··Q.··And that's the estate that you were the
·3·· · · ··Q.··Do you have access to any of Candy's bank    ·3···PR for; correct?
·4···accounts?                                              ·4·· · · ··A.··Yes.
·5·· · · ··A.··No.                                          ·5·· · · ··Q.··Okay.··If you look at the first page of
·6·· · · · · ··MR. GARDNER:··We've been going about an      ·6···that there's a deposit credit of
·7···hour, let's take a break.                              ·7···2,134,000-and-some-dollars; do you see that?
·8·· · · · · ··THE WITNESS:··Okay.                          ·8·· · · ··A.··Yes, uh-huh.
·9·· · · · · ··(Whereupon, the proceedings were in          ·9·· · · ··Q.··Was that the payment in from the sale of
10···recess at 2:04 p.m. and subsequently reconvened at     10···the property?
11···2:26 p.m., and the following proceedings were          11·· · · ··A.··Yeah, that was the proceeds from the
12···entered of record:)                                    12···property sale.
13···EXHIBITS:                                              13·· · · ··Q.··And then out of those funds, that's where
14·· · · · · ··(Deposition Exhibit Number 6 marked for      14···the funds were distributed to your siblings?
15···identification.)                                       15·· · · ··A.··Yes.
16·· · · ··Q.··(BY MR. GARDNER)··Mr. Williams, we're        16·· · · ··Q.··And if you look on the very last page, at
17···back on the record.                                    17···the bottom left it looks like there's a check to
18·· · · ··A.··Thank you.                                   18···Duffy Williams for --
19·· · · ··Q.··I'm going to hand you what we'll mark as     19·· · · ··A.··Yes.
20···Deposition Exhibit 6.                                  20·· · · ··Q.··-- 350,000?
21·· · · ··A.··All right.                                   21·· · · ··A.··Yes.
22·· · · ··Q.··And that is a copy of one of the             22·· · · ··Q.··And that's his distribution; correct?
23···documents you brought today; correct?                  23·· · · ··A.··Yes.
24·· · · ··A.··Yes, okay, uh-huh.                           24·· · · ··Q.··And then on the top right there's a
25·· · · ··Q.··And that is a list of various payments       25···checking account withdrawal sheet --

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·1···and a timeline at the end; correct?                    ·1·· · · ··A.··Yeah.
·2·· · · ··A.··Yes.                                         ·2·· · · ··Q.··-- or document that's Zions Bank, Scott
·3·· · · ··Q.··Who prepared this?                           ·3···Williams, 1,052,000-some-dollars; do you see that?
·4·· · · ··A.··Candy Williams.                              ·4·· · · ··A.··Yes, uh-huh.
·5·· · · ··Q.··Did you have any involvement in preparing    ·5·· · · ··Q.··So is that the type of form they do when
·6···it?                                                    ·6···you do a cashier's check?
·7·· · · ··A.··I probably gave her some dates from out      ·7·· · · ··A.··I don't know.··Yeah, I don't know.··I
·8···of my cell phone or something like that or whatever    ·8···guess what they did is that would be four cashier's
·9···I had, but I believe she did the rest.··I think she    ·9···checks for four of the siblings should add up to
10···had all the information to do that because she was     10···that amount, and that's I guess what they did.
11···making the payments, so she had a record of it.        11·· · · ··Q.··Three?
12·· · · ··Q.··Okay.··You can just put that one in the      12·· · · ··A.··Three of the siblings, right.··I believe
13···pile so that you don't walk off with that one,         13···it's -- oh, yeah, it would be three, you're
14···you've got your original copy there.                   14···correct, you're correct.
15·· · · ··A.··Uh-huh.                                      15·· · · ··Q.··Okay.
16·· · · ··Q.··I'm going to hand you what we'll mark as     16·· · · ··A.··Yeah, Brenda's was wired, yeah.
17···Exhibit 7.                                             17·· · · ··Q.··Okay.··So that would be the three of them
18·· · · ··A.··Okay.                                        18···and those three siblings you got cashier's checks
19···EXHIBITS:                                              19···from Zions Bank --
20·· · · · · ··(Deposition Exhibit Number 7 marked for      20·· · · ··A.··Right.
21···identification.)                                       21·· · · ··Q.··-- and gave those to your siblings;
22·· · · ··Q.··(BY MR. GARDNER)··And that is a Zions        22···correct?
23···Bank statement for the Hugh L. Williams Family         23·· · · ··A.··Yes, uh-huh.
24···Trust, that's the bank account for your dad's          24·· · · ··Q.··Okay.··I'm going to hand you what we'll
25···trust?                                                 25···mark as Deposition Exhibit 8.


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·1···EXHIBITS:                                               ·1···first time you got the funds --
·2·· · · · · ··(Deposition Exhibit Number 8 marked for       ·2·· · · ··A.··Yes, so --
·3···identification.)                                        ·3·· · · ··Q.··-- directly -- directly from the Hugh --
·4·· · · ··Q.··(BY MR. GARDNER)··And that is a bank          ·4·· · · ··A.··Yes, I distributed to myself on July 1st,
·5···statement from the same bank account for the            ·5···correct.
·6···following month, June to July of 2019; correct?         ·6·· · · ··Q.··Now I'm going to hand you what we'll mark
·7·· · · ··A.··Yes.                                          ·7···as Deposition Exhibit 10.
·8·· · · ··Q.··Okay.··And if you turn to the last page       ·8···EXHIBITS:
·9···there's a -- one of those similar checking account      ·9·· · · · · ··(Deposition Exhibit Number 10 marked for
10···withdrawal slips for $426,753.71; correct?              10···identification.)
11·· · · ··A.··Yes.                                          11·· · · ··Q.··(BY MR. GARDNER)··And these are the
12·· · · ··Q.··And that's the money you took out on          12···documents that we got directly from Zions Bank.
13···July 1, 2019 in two cashier's checks?                   13·· · · ··A.··Okay.
14·· · · ··A.··I believe it's one cashier's check still.     14·· · · ··Q.··And so I think this will give us the
15·· · · ··Q.··Oh, okay.                                     15···complete process.··And the first page looks like a
16·· · · ··A.··Okay, I believe it is.··I'm not positive,     16···withdrawal on -- checking account withdrawal on
17···but I think I -- I think I took this check home and     17···7/1/19 for $426,753.71, and that matches up with
18···then -- and I might be wrong, I don't know.             18···the amount we just looked at on the Hugh Williams
19·· · · ··Q.··That's why we're going through the            19···Trust account; correct?
20···documents --                                            20·· · · ··A.··Correct.
21·· · · ··A.··Okay, yeah.                                   21·· · · ··Q.··Now, these are somewhat out of order, I
22·· · · ··Q.··-- so that neither of us makes a mistake.     22···should've put these in a better order.··So if you
23·· · · ··A.··Okay.··I guess we -- yeah, I don't know.      23···go back to the fourth page there is a cashier's
24·· · · ··Q.··So I have documents from you from Zions       24···check to you from the Hugh Williams Family Trust
25···Bank pertaining to these, and then I also               25···for 25,000; correct?

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·1···subpoenaed Zions Bank for the actual copies so          ·1·· · · ··A.··Yes.
·2···we'll have the actual copies --                         ·2·· · · ··Q.··Okay.··And that went -- that is the check
·3·· · · ··A.··Okay.                                         ·3···you got on July 1st that went to the U.S. Bank --
·4·· · · ··Q.··-- so we have the actual copies.              ·4·· · · ··A.··Correct.
·5·· · · · · ··I'm going to hand you what we'll mark as      ·5·· · · ··Q.··-- checking account?
·6···9.                                                      ·6·· · · · · ··Okay.··And then if you go back a couple
·7···EXHIBITS:                                               ·7···more pages, there's another cashier's check from
·8·· · · · · ··(Deposition Exhibit Number 9 marked for       ·8···the trust to you for $401,747.71; correct?
·9···identification.)                                        ·9·· · · ··A.··Yes.
10·· · · ··A.··Oh, it was the 1st, okay.                     10·· · · ··Q.··And that's on July 1?
11·· · · ··Q.··(BY MR. GARDNER)··And so this is a photo      11·· · · ··A.··Right.
12···of a document you produced; correct?                    12·· · · ··Q.··And that's the check you testified you
13·· · · ··A.··This one?··Yes.                               13···took home?
14·· · · ··Q.··Okay.··And that shows two cashier's           14·· · · ··A.··I took home and put in the -- yes.
15···checks on July --                                       15·· · · ··Q.··And did nothing with it for some time?
16·· · · ··A.··You're correct, yes.                          16·· · · ··A.··Right, right.
17·· · · ··Q.··-- July 1, 2019 to Scott Williams from        17·· · · ··Q.··Okay.··Then if you turn to the very last
18···the Hugh L. Williams Family Trust; correct?             18···page there's another copy of that check, and
19·· · · ··A.··Correct.                                      19···there's a stamp on it that says Not Used For
20·· · · ··Q.··And one is $25,000 and one is                 20···Purpose Intended.··Is your understanding that
21···$401,747.71 --                                          21···that's because you brought that actual check back
22·· · · ··A.··Okay.                                         22···in to the bank?
23·· · · ··Q.··-- right?                                     23·· · · ··A.··Right, exactly.
24·· · · ··A.··Yes, uh-huh.                                  24·· · · ··Q.··Okay.··And you brought that actual check
25·· · · ··Q.··Okay.··And so that -- that would be the       25···back in to the bank on August 2nd of 2019, if you


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·1···turn back to the second page of this Exhibit 10?        ·1···El Monte RV that we talked about earlier, the
·2·· · · ··A.··Yeah, correct.                                ·2···motorhome rental business, both of them considered
·3·· · · ··Q.··Okay.                                         ·3···taking that business, I had no interest in either
·4·· · · ··A.··Yes, I thought it was the 3rd, but it was     ·4···of them.··And both of them asked questions about,
·5···in fact the 2nd.                                        ·5···you know, the income that came from them, the
·6·· · · ··Q.··So on August 2nd you brought that             ·6···people's names.··I gave them contact information on
·7···$401,000 check to you back to the bank and              ·7···how to get ahold of El Monte, I gave them the
·8···essentially traded it to them for a check to Viking     ·8···contacts of the people in the storage unit, and I
·9···Investments LLC for $400,000; correct?                  ·9···guess whatever information I had about those two
10·· · · ··A.··Plus apparently some cash, correct.           10···businesses.
11·· · · ··Q.··Yeah, so the extra $1100 you took out         11·· · · ··Q.··Okay.··Did they ever take any action
12···in --                                                   12···trying to get those interests?
13·· · · ··A.··Mystery solved, yeah.                         13·· · · ··A.··Kent called El Monte, El Monte called me
14·· · · ··Q.··Okay, all right.··And so other than that      14···back and said we would never do business with that
15···25,000, none of these funds ever went into any of       15···asshole, okay?··{Laughter.}··Duffy, I don't know
16···your actual bank accounts, they were just in the        16···whether --
17···form --                                                 17·· · · ··Q.··Is that a direct quote?
18·· · · ··A.··Right.                                        18·· · · ··A.··That's a direct quote.
19·· · · ··Q.··-- of a cashier's check?                      19·· · · · · ··Duffy -- Duffy, I know he tried to lease
20·· · · ··A.··Right.                                        20···land nearby to -- Okay, let me rephrase that.··I
21·· · · ··Q.··Okay.··I'd like to hand you what we'll        21···don't know if he tried to, this is what he told me,
22···mark as Deposition Exhibit 11.                          22···that he was trying to lease land a few miles down
23···EXHIBITS:                                               23···the road and take the storage customers and start a
24·· · · · · ··(Deposition Exhibit Number 11 marked for      24···storage business down there.
25···identification.)                                        25·· · · · · ··Kent did the same thing.··Kent told me he

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·1·· · · ··Q.··(BY MR. GARDNER)··And Deposition              ·1···was trying to buy property to do this, but I found
·2···Exhibit 11 is titled Exhibit A, and we received         ·2···out later that they were both trying to lease the
·3···that when you responded to our subpoena back in         ·3···same land.··So Kent had told me that he was -- had
·4···June, do you recall that?                               ·4···these big multimillion-dollar property deals
·5·· · · ··A.··Yes, uh-huh.                                  ·5···waiting for me to tell him, you know, what kind of
·6·· · · ··Q.··Did you prepare this document?                ·6···income and names and people and whatever.··I later
·7·· · · ··A.··Yes, uh-huh.                                  ·7···found out they were both after the same piece of
·8·· · · ··Q.··Okay.··I just wanted to confirm what it       ·8···open land to store on.
·9···was and who prepared it.··And let me see if I had       ·9·· · · · · ··And it got to the point where that's the
10···any questions on it.                                    10···one fight Kent and I had is he kept asking for
11·· · · · · ··On h. on that document --                     11···information.··I had extended the El Monte for I
12·· · · ··A.··Okay.                                         12···think two months while he was trying to figure out
13·· · · ··Q.··-- you say Beneficiaries Kent and Duffy       13···if he would work out something to take that.··And I
14···Williams were attempting to assume part of Hugh's       14···was busy as could be by myself in May and June in
15···business interests for themselves.                      15···the El Monte motorhome rental business, and I
16·· · · ··A.··Yes.                                          16···finally had to tell him go to hell, I'm not here to
17·· · · ··Q.··Tell me about that.                           17···set you up in business, I'm here to, you know, do
18·· · · ··A.··Okay.··So there were two things that they     18···what's best for the trust, and it's not help you
19···were after, Hugh had a storage yard where items         19···out in business, so that's where it went to.
20···were stored, both of them, Kent and Duffy both,         20·· · · · · ··MR. GARDNER:··Let's go off the record for
21···were attempting to take those storage customers and     21···a minute.
22···move them to their own properties or obtain             22·· · · · · ··(Discussion held off the record.)
23···properties or lease property and take over the          23·· · · · · ··MR. GARDNER:··Let's go back on the
24···storage customers.                                      24···record.
25·· · · · · ··Okay.··Then the other thing was the           25·· · · · · ··I'm going to hand you what we'll mark as


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·1···Exhibit 12.                                            ·1·· · · · · · · · ·CERTIFICATE OF WITNESS
·2···EXHIBITS:                                              ·2···
·3·· · · · · ··(Deposition Exhibit Number 12 marked for     ·3···PAGE· · ·LINE
·4···identification.)                                       ·4···
·5·· · · ··Q.··(BY MR. GARDNER)··And that is another        ·5···
·6···bank statement from that U.S. Bank account we          ·6···
·7···talked about earlier; correct?                         ·7···
·8·· · · ··A.··Yes.                                         ·8···
·9·· · · ··Q.··Okay.··And that statement's from July        ·9···
10···through August of 2019; correct?                       10·· · · · · ··I hereby certify that this is a true and
11·· · · ··A.··Uh-huh.                                      11···correct copy of my testimony, together with any
12·· · · ··Q.··And other than this bank account at that     12···changes I have made on this and any subsequent
13···time, the only other bank account was a savings        13···pages attached hereto.
                                                            14···
14···account?
                                                            15···Dated on this the______ day of _________, 2023.
15·· · · ··A.··Attached to this, yes.
                                                            16···
16·· · · ··Q.··At U.S. Bank that had 100 bucks in it?
                                                             ··· · · · · · · · · · · · · __________________________
                                                                                         ·
17·· · · ··A.··It had $100 in it for years.
                                                            17·· · · · · · · · · · · · · SCOTT
                                                                                         ·     WILLIAMS, Deponent.
18·· · · ··Q.··Okay.··So the ending balance on
                                                            18···
19···August 16th of 2018 was 1800 bucks; correct?··If
                                                            19···
20···you look on the first page --                          20···
21·· · · ··A.··First page.                                  21···
22·· · · ··Q.··-- there's an ending balance.                22···
23·· · · ··A.··Okay, yeah, 1,809.23, correct.               23···
24·· · · ··Q.··Okay.··Now, on July 24 it says there was     24···
25···an ATM deposit of $4,000.                              25···

                                                  Page 71

·1·· · · ··A.··Uh-huh.
·2·· · · ··Q.··Do you know what was that?
·3·· · · ··A.··Yeah, that was a check from my brother
·4···Duffy, paying me back for money I loaned him a year
·5···or two before.
·6·· · · ··Q.··Okay.··And other than that and it looks
·7···like a $200 return for fraud, you had no other
·8···money going into your account; correct?
·9·· · · ··A.··Yeah.
10·· · · · · ··MR. GARDNER:··I don't have any more
11···questions, Mr. Williams.··Thank you.
12·· · · · · ··MR. SHIMANEK:··Okay, thank you.
13·· · · · · ··MR. MURPHY:··I don't have any questions.
14·· · · · · ··MR. SHIMANEK:··I'm not going to have any
15···redirect on that, either.
16·· · · · · ··(Deposition concluded at 2:46 p.m.
17···Witness excused, signature reserved.)
18·· · · · · · · · · · · · *· * *
19···
20···
21···
22···
23···
24···
25···


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  · · · · · · · ··C E R T I F I C A T E
·1·
 ···
  ·
·2·
 ···
  ·STATE OF Montana· ·)
·3·
 ··· · · · · · · · · ··:··ss.
  ·County of Missoula )
·4·
 ···
  · · · · · · ·I, Terra Rohlfs, RPR, Freelance Court
·5·
 ··Reporter
    ·        and Notary Public for the State of
  ·Montana, residing in Hamilton, Montana, do hereby
·6·
 ··certify:
    ·
  ·
·7·
 ··· · · · · · ·That I was duly authorized to swear in
  ·the witness and did report the deposition of SCOTT
·8·
 ··WILLIAMS
    ·        in this cause;
  ·
·9·
 ··· · · · · · ·That the reading and signing of the
  ·deposition by the witness have been expressly
10·
 ··reserved;
    ·
  ·
11·
 ··· · · · · · ·That the foregoing pages of this
  ·deposition constitute a true and accurate
12·
 ··transcription
    ·             of my stenotype notes of the
  ·testimony
13·           of said witness.
 ···
  · · · · · · ·I further certify that I am not an
14·
 ··attorney
    ·        nor counsel of any of the parties; nor a
  ·relative or employee of any attorney or counsel
15·
 ··connected
    ·         with the action, nor financially
  ·interested in the action.
16·
 ···
  · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
17·
 ··my
    ·  hand and seal on this the 20th day of September,                           2023.
  ·
18·
 ···
  ·
19·
 ··· · · · · · · · · · ·_______________________________
  · · · · · · · · · · ·Terra Rohlfs, RPR,
20·
 ··· · · · · · · · · · ·Freelance Court Reporter
  · · · · · · · · · · ·Notary Public, State of Montana
21·
 ··· · · · · · · · · · ·Residing in Hamilton, Montana
  · · · · · · · · · · ·My Commission expires: 11/4/23
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  ·September 20th, 2023
·1·
 ···
  ·
·2·
 ··Edward
    ·        "Rusty" A. Murphy, Esq.
  ·Murphy Law Offices, PLLC
·3·
 ··127
    ·    North Higgins, Suite 310
  ·Central
·4·           Square Building
 ··Missoula,
    ·           Montana 59802
  ·
·5·
 ···
  ·Re:··IN RE: SCOTT K. WILLIAMS, DEBTOR
·6·
 ··Deposition
    ·             of SCOTT WILLIAMS
  ·
·7·
 ··Dear
    ·      Counsel,
  ·
·8·
 ··Please
    ·        find attached your copy of the deposition
  ·mentioned above.··I have also attached a
·9·
 ··"CORRECTIONS
    ·               TO DEPOSITION" page following this
  ·page.··Have the deponent read and sign the
10·
 ··deposition,
    ·              noting any corrections on the page
  ·provided, and have it sent back to me.
11·
 ···
  ·You have 30 days to accomplish reading.··After that
12·
 ··we
    ·   will note on the release letter that the witness
  ·has
13·      waived the right to read the deposition, and we
 ··will
    ·      deliver the Original to the ordering party.
  ·
14·
 ··If
    ·   you have any questions, please feel free to give
  ·me a call.
15·
 ···
  ·Sincerely,
16·
 ···
  ·JEFFRIES COURT REPORTING, INC.
17·
 ···
  ·
18·
 ···
  ·Rona Chenoweth, Office Manager
19·
 ···
  ·
20·
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  ·
21·
 ··cc:··Trent
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  ·Attachment
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IN RE: WILLIAMS, DEBTOR                9/14/2023                             SCOTT WILLIAMS

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 ··Re:··IN
    ·          RE: SCOTT K. WILLIAMS, DEBTOR
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·6·
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·7·
 ··PLEASE
    ·         ATTACH TO YOUR COPY OF THE DEPOSITION OF:
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·8·   · ·  ·  · · · · · ··SCOTT WILLIAMS
 ··· · · · · · ·THURSDAY, SEPTEMBER 14, 2023
  ·
·9·
 ···
  · · · · · ·_____··Please find enclosed the Original
10·
 ··deposition
    ·             in the above-named case.··It has been
  ·read and signed.··We are now delivering it to you
11·
 ··since
    ·        you were the ordering party.
  ·
12·
 ···
  ·_____··The time for reading and signing has passed,
13·
 ··and
    ·     we are delivering the Original to you since you
  ·were the ordering party.
14·
 ···
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 ···
  ·Rona Chenoweth, Office Manager
16·
 ···
  ·Date: ___________
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 ··cc:··Edward
    ·              "Rusty" A. Murphy, Esq.
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